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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                 Case No. 3:08cr79/MCR

MARK DANIEL LEITNER
______________________________________________________________________

                    ORDER CONCERNING REPRESENTATION

        Defendant Mark Daniel Leitner appeared on September 9, 2008 as directed.
The court addressed the question of whether defendant wants an attorney. He takes
the position that he wants “to handle his own legal affairs” without appearing, but
not to represent himself or have an attorney. The court explained that he has three
options: (1) he can retain counsel, (2) he can have counsel appointed for him if he
qualifies, or (3) he can represent himself. Handling his own legal affairs, a concept
defendant was unable to define satisfactorily, is not an option. He was given time
to consider his options.
        Accordingly IT IS ORDERED that:
        1.   If defendant retains counsel, his counsel must make an unlimited
             appearance no later then 4:30 P.M. CDT on September 18, 2008.

        2.   If defendant does not retain counsel, he will appear in person before the
             undersigned at 11:00 A.M. CDT on September 19, 2008 and his
             remaining options will be discussed. A Faretta v. California proceeding
             will be held if necessary.

        DONE AND ORDERED this 10th day of September, 2008.


                                    /s/   Miles Davis
                                          MILES DAVIS
                                          UNITED STATES MAGISTRATE JUDGE
